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EXHIBIT J
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)

W.R. GRACE & CO., et al., .) Case No. 01-01139 (IKF)
)

Debtors. ) (Jointly Administered)
)

ORDER GRANTING PACIFICORP AND THE VANCOTT BAGLEY
CORNWALL & MCCARTHY 401(K) PROFIT SHARING PLAN'S
MOTION FOR LEAVE TO FILE LATE PROOFS OF CLAIM

THIS matter coming before the Court on the Motion of PacifiCorp and the VanCott
Bagley Cornwall & McCarthy 401(k) Profit Sharing Plan (the "VanCott Plan") pursuant to 11
U.S.C. § 105(a) and Rule 9006(b) of the Federal Rules of Bankruptcy Procedure, for leave to file
a late proof of claim (the "Motion"); and the Court having reviewed the Motion and all other
pleadings related thereto, and otherwise being fully advised in the premises of the Motion; and
the Court having found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C.
§§ 157 and 1334, (ii) this is a core matter pursuant to 28 U.S.C. § 157(b), (iii) Notice of the
Motion was sufficient under the circumstances, and (iv) good cause exists to grant the relief
requested by the Motion, now, therefore, for the reasons more fully set forth in the record of the
hearing on the Motion,

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED; and

2. PacifiCorp and the VanCott Plan are hereby allowed thirty days (30) from the

date of the entry of this Order to each file a proof of claim with the Debtors' claims agent, Rust
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Consulting, Inc., which claims shall be deemed timely filed notwithstanding the Bar Date of
March 31, 2003, previously set by this Court.

Signed this day of , 2005.

HON. JUDITH K. FITZGERALD
UNITED STATES BANKRUPTCY COURT JUDGE

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